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10

11                               UNITED STATES DISTRICT COURT

12                              NORTHERN DISTRICT OF CALIFORNIA

13                                  SAN FRANCISCO DIVISION

14   PARAG AGRAWAL, NED SEGAL,                      Case No. 3:24-cv-01304-MMC
     VIJAYA GADDE, and SEAN EDGETT,
15                                                  PLAINTIFFS’ NOTICE OF MOTION AND
                                                    MOTION TO OPEN DISCOVERY
16                Plaintiffs,
                                                    Hearing Date: November 15, 2024
17         vs.                                      Time: 9:00 AM
                                                    Location: Courtroom 7, 19th Floor
18   ELON MUSK; X CORP., f/k/a TWITTER, INC.;       Judge: Hon. Maxine M. Chesney
     TWITTER, INC. CHANGE OF CONTROL
19   AND INVOLUNTARY TERMINATION
     PROTECTION POLICY; TWITTER, INC.
20   CHANGE OF CONTROL SEVERANCE AND
     INVOLUNTARY TERMINATION
21   PROTECTION POLICY; LINDSAY
     CHAPMAN; BRIAN BJELDE; AND
22   DHRUV BATURA,

23                Defendants.

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 1                                   NOTICE OF MOTION AND MOTION

 2            PLEASE TAKE NOTICE that on November 15, 2024 at 9:00 a.m., or as soon thereafter as

 3   counsel may be heard, Plaintiffs Parag Agrawal, Ned Segal, Vijaya Gadde, and Sean Edgett

 4   (collectively, “Plaintiffs”) will, and hereby do, bring this Motion to Open Discovery before the

 5   Honorable Judge Maxine Chesney of the San Francisco Courthouse located at 450 Golden Gate

 6   Avenue, Courtroom 7 – 19th Floor, San Francisco, CA 94102. This Motion is brought pursuant to

 7   the Federal Rules of Civil Procedure 1, 16, and 26. Plaintiffs request the Court open discovery at

 8   least as to Counts I–IV of the Complaint.

 9                          MEMORANDUM OF POINTS AND AUTHORITIES

10   I.       INTRODUCTION

11            This case has been pending since March 4, 2024, and discovery has not begun. Meanwhile,

12   discovery is open or soon to be open in the later-filed companion cases Caldwell v. Musk et al.,

13   No. 3:24-cv-02022-MMC (N.D. Cal. Filed Apr. 3, 2024), and Kaiden v. Musk et al., No. 3:24-cv-

14   03554-MMC (N.D. Cal. Filed June 12, 2024). This Motion asks the Court to address this anomaly

15   by opening discovery in this case, at least as to Plaintiffs’ claims for denial of benefits under Section

16   502(a)(1)(B) of ERISA (Counts I–IV of the Complaint). Allowing discovery to proceed is necessary

17   to avoid risking prejudice to Plaintiffs, and will not prejudice any legitimate interest of Defendants.

18   II.      STATEMENT OF ISSUES TO BE DECIDED

19            Whether discovery should be opened, at least as to Counts I–IV of the Complaint.

20   III.     BACKGROUND

21            Plaintiffs have asserted three types of claims in this case: (i) claims for denial of benefits

22   under Section 502(a)(1)(B) of ERISA (Counts I–IV); (ii) a claim for termination of Plaintiffs’

23   employment in an unlawful effort to interfere with their severance benefits under Section 510 of

24   ERISA (Count V), brought against only two of the seven defendants; and (iii) a claim for statutory

25   penalties for failure to provide documents (Count VI). Dkt. 1 ¶¶ 157–83.

26            On May 20, 2024, Defendants filed a motion to dismiss one of the six claims (Count V). See

27   Dkt. 46 (the “Partial Motion to Dismiss”). In the case management statement filed on June 7, 2024,

28   Defendants took the position that no discovery should proceed on that claim pending disposition of
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 1   the motion. See Dkt. 59 at 9. Defendants agreed, however, that at least some discovery could

 2   proceed on the Section 502(a)(1)(B) claims in Counts I–IV. Id.

 3            At the Case Management Conference, the Court heard from the parties about Defendants’

 4   request to stay discovery. Recognizing that the parties would likely disagree about the proper scope

 5   of discovery, and anticipating a quick disposition of the Partial Motion to Dismiss, the Court decided

 6   to stay all discovery briefly, saying that the motion hearing was “practically here . . . [i]t’s July 19,

 7   so about a month off,” and then: “Maybe I can rule on this [Partial Motion to Dismiss] before the

 8   hearing or at least no later than the hearing date itself and get you rolling.” Dkt. 64, June 14, 2024

 9   Hr’g Tr. at 13, 24. The Court also told the parties they could jointly agree to conduct some discovery

10   in the interim. Id. at 23–24.

11            Since then, the hearing on the Partial Motion to Dismiss was continued from July 19 to

12   August 30, and then was taken off the Court’s calendar without a disposition. See Dkts. 68, 69.

13   Meanwhile, Defendants have only narrowed the discovery they are willing to provide pending

14   disposition of the Partial Motion to Dismiss: in the case management report filed in June, they

15   agreed to provide discovery on “the administrative record” and on Plaintiffs’ allegations that “the

16   Plan Administrator and Committee ‘operated under a conflict of interest in adjudicating Plaintiff’s

17   claims for benefits.’” Dkt. 59 at 9 (quoting Dkt. 1, Compl. ¶ 156). But in the meet-and-confer

18   process, Defendants have narrowed their offer to discovery on the administrative record only.

19   Declaration of Sheila A.G. Armbrust (“Armbrust Decl.”) Ex. A at 3. They conditioned that narrow

20   offer on Plaintiffs’ agreement not to file this Motion, which Defendants oppose. See id. ¶ 5, Ex. A at

21   1.

22   IV.      ARGUMENT

23            Because more than seven months have passed since this case was filed, and no discovery has

24   occurred, Plaintiffs respectfully submit that at this time, the Court should open discovery at least as

25   to their Section 502(a)(1)(B) claims (Counts I–IV) for three reasons.

26            First, circumstances have changed since the Court stayed discovery: As noted above, when

27   the Court entered the stay, it anticipated ruling quickly on the Partial Motion to Dismiss – “at least

28   no later than the hearing date,” which was set for July 19. Dkt. 64, June 14, 2024 Hr’g Tr. at 24. But
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 1   the hearing date was later moved to August 30 and then vacated, and the Partial Motion to Dismiss

 2   remains pending. Dkts. 68, 69. As a result, significant time has now passed, and discovery has not

 3   begun.

 4            Courts have “traditionally looked unfavorably upon blanket stays of discovery while Rule 12

 5   motions are pending” because such stays are often “‘directly at odds with the need for expeditious

 6   resolution of litigation.’” In re Google Location History Litig., 514 F. Supp. 3d 1147, 1164 (N.D.

 7   Cal. 2021) (quoting Gray v. First Winthrop Corp., 133 F.R.D. 39, 40 (N.D. Cal. 1990)); see also,

 8   e.g., Novelposter v. Javitch Canfield Grp., No. 13-cv-05186-WHO, 2014 WL 12618174, at *1 (N.D.

 9   Cal. May 23, 2014).

10            Second, opening discovery and preventing further delay are necessary to avoid risking

11   prejudice to Plaintiffs whose claims may be compromised by the passage of time. Nearly every day

12   brings another news story reporting the mismanagement of X Corp. under its new ownership.

13   Armbrust Decl. Ex. B. According to one such report, the value of X Corp. has plummeted

14   precipitously since the acquisition of Twitter. Id. Ex. C.

15            Opening discovery will also bring this case in line with the companion cases pending in this

16   Court. In particular, there is no stay of discovery in Caldwell v. Musk et al., No. 3:24-cv-02022-

17   MMC (N.D. Cal.), an ERISA case brought in this district by another former Twitter executive

18   against Elon Musk and X Corp. in which a partial motion to dismiss a Section 510 claim is also

19   pending. Additionally, there has been no indication that there will be any stay of discovery in Kaiden

20   v. Musk et al., No. 3:24-cv-03554-MMC (N.D. Cal.), another ERISA denial-of-benefits case against

21   Musk and X Corp. For the same reasons it makes sense for discovery to proceed in Caldwell and

22   Kaiden, and in the interests of fairness, discovery should proceed here.

23            Third, opening discovery as to the Section 502(a)(1)(B) claims in Counts I–IV will not

24   prejudice Defendants. No Defendant has moved to dismiss the Section 502(a)(1)(B) claims. Only the

25   Section 510 claim in Count V is subject to the Partial Motion to Dismiss, and that claim is brought

26   against only two of the seven defendants. See Dkt. 46. Discovery on the Section 502(a)(1)(B) claims

27   thus will be unaffected by a ruling on the Partial Motion to Dismiss. In particular, regardless of the

28   ruling on the Partial Motion to Dismiss, Plaintiffs will be entitled to take discovery pertaining: (1)
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 1   the administrative record, (2) Defendants’ conflicts of interest, and (3) procedural irregularities in the

 2   claims administration process. See Abatie v. Alta Health Life Ins. Co., 458 F.3d 955, 972 (9th Cir.

 3   2006) (discussing categories of discovery available for Section 502(a)(1)(B) claims). Because

 4   Defendants have not moved to dismiss the Section 502(a)(1)(B) claims, discovery on those topics is

 5   inevitable, and there is no reason to further delay.

 6          Moreover, as noted above, Defendants agreed in the case management report that at least

 7   some discovery regarding the Section 502(a)(1)(B) claims could proceed, including pending a

 8   decision on the Partial Motion to Dismiss. See Dkt. 59 at 9–10. Defendants’ prior agreement on this

 9   issue confirms there is no prejudice to Defendants if discovery is opened as to these claims.

10          For these reasons, Plaintiffs respectfully request entry of an order opening discovery as to

11   Plaintiffs’ Section 502(a)(1)(B) claims (Counts I–IV), including during the pendency of Defendants’

12   Partial Motion to Dismiss.

13

14   Date: October 10, 2024                                 SIDLEY AUSTIN LLP
15                                                          By: /s/ David L. Anderson
                                                               David L. Anderson
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17                                                             Attorneys for Plaintiffs Parag Agrawal,
                                                               Ned Segal, Vijaya Gadde, and Sean Edgett
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